
985 A.2d 51 (2009)
411 Md. 697
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Ramsdale O'DENEAL, Jr.
Misc. Docket AG No. 25, September Term, 2009.
Court of Appeals of Maryland.
December 17, 2009.

ORDER
ROBERT M. BELL, Chief Judge.
Upon consideration of the petition for disciplinary or remedial action filed in the above entitled matter in accordance with Md. Rule 16-773 and a response having been made by Bar Counsel to the show cause order, it is this 17th day of December, 2009
ORDERED, by the Court of Appeals of Maryland, that Ramsdale O'DeNeal, Jr. be, and he is hereby, indefinitely suspended from the practice of law in the State of Maryland, and it is further
ORDERED, that the Clerk of this Court shall forthwith strike the name of Ramsdale O'DeNeal, Jr. from the register of attorneys, in this Court and shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State in accordance with Rule 16-760(e).
